     Case 3:07-cv-01297-F Document 16 Filed 10/14/07      Page 1 of 28 PageID 104



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ATLANTIC CASUALTY INSURANCE               §
COMPANY,                                  §
                                          §
        Plaintiff,                        §
                                          §
V.                                        §
                                          §
ROBERT RAMIREZ, individually and          §   CIVIL ACTION NO. 3:07cv1297-K
d/b/a LBJ TRUCKING CO., INC.,             §
LBJ TRUCKING CO., INC.,                   §
CLEM’S YE OLDE                            §
HOMESTEAD FARMS, LTD.,                    §
BETTYE CRIDER CLEM,                       §
CLARENCE TRUMAN CLEM,                     §
KELLY CLEM, and CLARENCE T.               §
“CASEY” CLEM, JR.,                        §
                                          §
        Defendants.                       §

            ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
           THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS

                                        Camille Johnson, Attorney-in-Charge
                                        State Bar No. 10686600
                                        Gary N. Schumann
                                        State Bar No. 17851930
                                        SAVRICK, SCHUMANN, JOHNSON,
                                        MCGARR, KAMINSKI & SHIRLEY, L.L.P.
                                        6440 N. Central Expressway, Suite 107
                                        Dallas, Texas 75206
                                        Phone: (214) 368-1515
                                        Fax: (214) 292-9647

Of counsel:

William A. Reece
State Bar No. 16672990
SAVRICK, SCHUMANN, JOHNSON,
MCGARR, KAMINSKI & SHIRLEY, L.L.P.
6440 N. Central Expressway, Suite 107
Dallas, Texas 75206
Phone: (214) 368-1515
Fax: (214) 292-9647
                                        ATTORNEYS FOR PLAINTIFF
                                        ATLANTIC CASUALTY INSURANCE COMPANY
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                                             Page 2 of 28 PageID 105



                                                    TABLE OF CONTENTS

Table of Contents............................................................................................................................. i

Table of Authorities ........................................................................................................................ ii

I. Introduction and Factual Background ........................................................................................ 1

II. Argument and Authorities......................................................................................................... 4

     a. Atlantic’s claims against the Clems are ripe....................................................................... 4

           1. The U.S. Supreme Court answered the question in Atlantic’s favor in 1941................ 5

           2. Other federal courts agree with Atlantic’s view. ............................................................ 7

           3. Cases the Clems rely on are inapposite......................................................................... 10

     b. The Court should not dismiss the action against the Clems as a matter of discretion...... 17

III. Conclusion ............................................................................................................................. 21

Certificate of Service .................................................................................................................... 23




                                                                       i
   Case 3:07-cv-01297-F Document 16 Filed 10/14/07                                         Page 3 of 28 PageID 106



                                              TABLE OF AUTHORITIES

CASES

American States Ins. Co. v. Bailey,
      133 F.3d 363 (5th Cir. 1998) ............................................................................................. 10

Bituminous Casualty Corp. v. Garcia,
       223 F.R.D. 308 (N.D. Tex. 2004) ............................................................................... 16, 17

Central Surety & Ins. Corp. v. Norris,
       103 F.2d 116 (5th Cir. 1939) ............................................................................................... 7

Century Surety Co. v. Hardscape Construction Specialties, Inc.,
      No. 4:05-CV-285-Y, 2006 WL 1948063 (N.D. Tex. July 13, 2006)........................ 7, 8, 17

Chevron USA, Inc. v. Traillour Oil Co.,
      987 F.2d 1138, 1154 (5th Cir. 1993) ........................................................................... 11, 17

Continental Cas. Co. v. West Machine & Tool, Inc.,
       No. A 603CV447, 2004 WL 1445812, at *1 (E.D. Tex. June 22, 2004)............................ 9

Cross v. Occidental Fire & Cas. Co.,
       347 F. Supp. 342, 344 (W.D. Okla. 1972). ......................................................................... 3

Dairyland County Mutual Insurance Company of Texas v. Childress,
       650 S.W.2d 770 (Tex. 1983)............................................................................................... 8

Dairyland Ins. Co. v. Makeover,
       654 F.2d 1120, 1123 (5th Cir. 1981) ................................................................................. 10

El Naggar Fine Arts Furniture, Inc. v. Indian Harbor Ins. Co.,
      ---S.W.3d---, No. 01-05-01069-CV, 2007 WL 624535
      (Tex. App.—[1st Dist.] Houston March 1, 2007, pet. denied) ........................................ 3, 6

Erie R.R. Co. v. Tompkins,
       304 U.S. 64 (1938)............................................................................................................ 10

Farmers Texas County Mutual Insurance Company v. Griffin,
      955 S.W.2d 81 (Tex. 1997)............................................................................... 4, 12, 13, 15

Federal Kemper Ins. Co. v. Rauscher,
      807 F.2d 345, 352 (3rd Cir. 1986) ..................................................................................... 10



                                                                   ii
   Case 3:07-cv-01297-F Document 16 Filed 10/14/07                                     Page 4 of 28 PageID 107



Feria v. CU Lloyd’s of Tex.,
       No. 05-00-01245-CV, 2001 WL 1263666 (Tex. App.—Dallas Oct. 23, 2001, no pet.) .. 14

Griffin v. Farmers Texas County Mut. Ins. Co.,
        No. 09-95-202CV, 1996 WL 389232, at *1
        (Tex. App.—Beaumont July 11, 1996), rev’d, 955 S.W.2d 81 (Tex. 1997) .................... 13

Government Employees Ins. Co. v. Dizol,
      133 F.3d 1220, 1225 (9th Cir. 1998) ................................................................................. 19

GuideOne Elite Ins. Co. v. Fielder Road Baptist Church,
      197 S.W.3d 305 (Tex. 2006)............................................................................................. 21

Jones v. CGU Ins. Co.,
       78 S.W.3d 626, 629 (Tex. App.—Austin 2002, no pet.) .................................................... 5

Maryland Cas. Co. v. Pacific Coal & Oil Co.,
      312 U.S. 270, 273 (1941).......................................................................................... 6, 7, 10

National American Insurance Co. v. Breaux,
       368 F. Supp. 2d 604 (E.D. Tex. 2005)............................................................................ 8, 9

Nelms v. State Farm Mut. Auto. Ins. Co.,
       463 F.2d 1190, 1192 (5th Cir. 1972) ................................................................................... 5

Orix Credit Alliance, Inc. v. Wolfe,
       212 F.3d 891, 896 (5th Cir. 2000) ..................................................................................... 11

Owens v. Allstate Insurance Co.,
      996 S.W.2d 207 (Tex. App.—Dallas 1998, pet. denied) .................................................. 14

Penny v. Powell,
       162 Tex. 497, 347 S.W.2d 601, 603 (1961)........................................................................ 5

Rhode Island v. Narragansett Indian Tribe,
       19 F.3d 685, 692 (1st Cir. 1994)........................................................................................ 11

Sherwin-Williams Co. v. Holmes County,
      343 F.3d 383, 388 (5th Cir. 2003) ......................................................................... 18, 19, 20

St. Paul Ins. Co. v. Trejo,
       39 F.3d 585 (5th Cir. 1994) ......................................................................................... 17, 20

Standard Accident Ins. Co. v. Meadows,
       125 F.2d 422, 423-24 (5th Cir. 1942) .................................................................................. 9

                                                                iii
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                                            Page 5 of 28 PageID 108




Standard Fire Insurance Co. v. Sassin,
       894 F. Supp. 1023 (N.D. Tex. 1995) .......................................................................... 15, 16

State and County Mut. Fire Ins Co. v. Walker,
       228 S.W.2d 404, 412 (Tex. App.—Fort Worth 2007, no pet.) ......................................... 12

State Farm Fire & Cas. Co. v. Fullerton,
       118 F.3d 374, 385 n.6 (5th Cir. 1997) ................................................................................. 8

State Farm Fire & Cas. Co. v. Gandy,
       925 S.W.2d 696 (Tex. 1996)....................................................................................... 12, 20

State Farm Mut. Ins. Co. v. Ollis,
       768 S.W.2d 722, 723 (Tex. 1989)................................................................................... 6, 7

United States Ins. Co. v. Kapiloff,
       155 F.3d 488, 494 (4th Cir. 1998) ..................................................................................... 19

United Transp. Union v. Foster,
       205 F.3d 851, 857 (5th Cir. 2000) ..................................................................................... 11


STATUTES

28 U.S.C. § 2201............................................................................................................................. 4

42 U.S.C. § 6972........................................................................................................................... 19

TEX. R. CIV. P. 43.......................................................................................................................... 15

TEX. R. CIV. P. 60.......................................................................................................................... 14




                                                                      iv
     Case 3:07-cv-01297-F Document 16 Filed 10/14/07            Page 6 of 28 PageID 109



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ATLANTIC CASUALTY INSURANCE                    §
COMPANY,                                       §
                                               §
        Plaintiff,                             §
                                               §
V.                                             §
                                               §
ROBERT RAMIREZ, individually and               §    CIVIL ACTION NO. 3:07cv1297-K
d/b/a LBJ TRUCKING CO., INC.,                  §
LBJ TRUCKING CO., INC.,                        §
CLEM’S YE OLDE                                 §
HOMESTEAD FARMS, LTD.,                         §
BETTYE CRIDER CLEM,                            §
CLARENCE TRUMAN CLEM,                          §
KELLY CLEM, and CLARENCE T.                    §
“CASEY” CLEM, JR.,                             §
                                               §
        Defendants.                            §

            ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
           THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS

TO THE HONORABLE U.S. DISTRICT JUDGE ED KINKEADE:

        Atlantic Casualty responds to the Clem Defendants’ Motion to Dismiss and respectfully

shows the Court as follows:

                          I. Introduction and Factual Background

        Atlantic Casualty insured LBJ Trucking Co., Inc. under commercial general liability

policies. Atlantic understands that Ramirez was an officer or director of LBJ. The Clems hired

Briscoe Land Reclamation to bring in “clean fill material” to their real property on Parker Road

in Carrollton, Texas. Ramirez and LBJ Trucking are alleged to have transported the fill material.

According to the Clems, the fill material was instead “foundry sand,” which they characterize as

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 1
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                          Page 7 of 28 PageID 110



environmentally unsuitable for their property, and they sued Ramirez, LBJ Trucking, and other

alleged wrongdoers under federal pollution laws as well as under numerous state-law theories,

including negligence. 1 The Atlantic Casualty policies do not cover Ramirez and LBJ’s allegedly

wrongful acts because of pollution exclusions, a classification endorsement and a claims-in-

process exclusion, all as pleaded in Atlantic Casualty’s complaint. 2 Nor do they cover Ramirez

acting individually before the inception of LBJ Trucking Co., Inc.

        For the Clems’ underlying lawsuit, Ramirez and LBJ Trucking demanded defense and

indemnity coverage under the Atlantic Casualty policies. Atlantic Casualty has been paying for

their defense under a reservation of rights, which expressly reserved Atlantic Casualty’s right to

contest coverage for the above-stated reasons under the policies. Atlantic Casualty then did what

insurers often do under similar circumstances: It seeks a declaration from this Court that it has

no duty to defend or indemnify Ramirez or LBJ Trucking because of the policy provisions

excluding coverage. It also did something no more uncommon than sunshine in Dallas in July:

It included as defendants the Clems, who are potential judgment creditors of Ramirez and LBJ

Trucking. The reasons for this inclusion are straight forward, common sense, and, important for

present purposes, firmly grounded in law.

        In addition to remediation of the alleged pollution, the Clems seek millions of dollars in

damages from the underlying defendants, including Ramirez and LBJ Trucking. Should the

Clems recover, Ramirez and LBJ seek to pass that judgment on to Atlantic Casualty for it to pay


1
  Before filing their lawsuit (referred to herein as the “underlying” action or lawsuit), the Clems demanded several
million dollars from LBJ Trucking and others for the alleged pollution complained of in the underlying lawsuit.
2
  As their name suggests, the pollution exclusions exclude coverage for incidents of pollution. The classification
endorsement addresses coverage for a stated type or classification of work, while the claims-in-process exclusion
excludes coverage for events that occurred before the policy period.
ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                         Page 2
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                         Page 8 of 28 PageID 111



under the terms and limits of the policies. More to the point of the Clems’ motion to dismiss, if

the Clems get a judgment against Ramirez, LBJ, or both, the Clems become judgment creditors

of Ramirez/LBJ, which means they could sue Atlantic Casualty directly to recover on the

underlying judgment.         So here is the point:         If Atlantic Casualty gets from this Court a

declaratory judgment of no coverage against only Ramirez and LBJ Trucking, the Clems could

then nonetheless seek recovery from Atlantic Casualty, claiming that they are not bound by the

no-coverage declaration because they were not parties to the coverage action. Cf. El Naggar

Fine Arts Furniture, Inc. v. Indian Harbor Ins. Co., ---S.W.3d---, No. 01-05-01069-CV, 2007

WL 624535 (Tex. App.—[1st Dist.] Houston March 1, 2007, pet. denied) (holding that federal

no-coverage judgment did not bar injured party’s action, as insurer could have but did not join

injured party as a party in insurer’s federal declaratory judgment action against insured). 3

        The Clems are hardly coy about their present intentions on a post-judgment recovery

from Atlantic:      They are not “presently seeking indemnity from Atlantic,” they “seek no

indemnity from Atlantic at this time,” and “Atlantic’s ‘controversy’ with the Clem Defendants

[emphasis in original] . . . will only exist at such time that the Clem Defendants obtain a

favorable judgment in the Underlying Lawsuit. [T]he Clem Defendants fully expect to succeed

in the Underlying Lawsuit . . . .” (Clem Defs.’ Mot. Dismiss at 2, 4 & 12) (emphasis added

except as otherwise noted.) Thus, although a no-coverage declaration against only Ramirez and

LBJ might staunch the flow of attorney’s fees that Atlantic is presently paying for their defense,


3
  “There is good reason for permitting the joinder of persons in Plaintiff’s [i.e. a potential judgment creditor’s]
position by an insurer seeking declaratory relief. If they were not joined they would not be bound by a favorable
judgment of noncoverage and the insurers could be exposed to the risks of a multiplicity of litigation and
inconsistent obligations.” Cross v. Occidental Fire & Cas. Co., 347 F. Supp. 342, 344 (W.D. Okla. 1972).

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                        Page 3
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                           Page 9 of 28 PageID 112



it will hardly solve the indemnity problem because Ramirez and LBJ are not seeking to recover

indemnity on the policies—ultimately, the Clems are. And if they are not included in this action,

Atlantic Casualty is faced with a do-over of this very action against the Clems, with the exact

same issues if the Clems realize their expectation “fully . . . to succeed in the Underlying

Lawsuit.” Thus is the straight forward and common sense rationale, born of judicial economy

and a desire for presently settled expectations, including those of the defendants, to include the

Clems as parties defendant in this action.

                                       II. Argument and Authorities

         a.       Atlantic’s claims against the Clems are ripe.

         The Clems allege that it is too early for the Court to address the coverage dispute as to

them, claiming that the same reasons require dismissal both on jurisdictional grounds and

grounds of failure to state a claim. 4 Because the Clems have it wrong on their underlying

rationale, both their 12(b)(1) and 12(b)(6) grounds fail. The federal Declaratory Judgment Act

allows that “[i]n a case of actual controversy within its jurisdiction . . . any court of the United

States, upon the filing of an appropriate pleading, may declare the rights and other legal relations

of any interested party seeking such declaration, whether or not further relief is or could be

sought.” 28 U.S.C. § 2201. Although the Clems dispute subject matter jurisdiction, they do not

dispute that the Court properly has subject matter jurisdiction based on diversity of citizenship.

Instead, they complain of ripeness or justiciability and focus on the “actual controversy”


4
  The Clems recognize that since the Texas Supreme Court’s decision in Farmers Texas County Mutual Insurance
Company v. Griffin, 955 S.W.2d 81 (Tex. 1997), whether an insurer has a duty to indemnify is justiciable before trial
or judgment in the underlying lawsuit. They therefore do not allege that the issue of indemnity is not ripe but rather
that it is not ripe as to them since they do not yet have a judgment in the underlying lawsuit. As explained below,
they are wrong.
ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                           Page 4
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                 Page 10 of 28 PageID 113



requirement of the Declaratory Judgment Act.         While ripeness does implicate the case or

controversy requirement of the Constitution’s Article III and thus subject matter jurisdiction, the

Clems are wrong that Atlantic Casualty’s request for declaratory relief against them is not ripe.

       Numerous times, the Clems make the unremarkable point that under Texas law, an

injured party has no direct cause of action against the injuring party’s insurance company. This

is a true statement of generally black letter law, which is irrelevant to the ripeness inquiry under

the federal Declaratory Judgment Act. True, Texas is not a direct action state. Jones v. CGU

Ins. Co., 78 S.W.3d 626, 629 (Tex. App.—Austin 2002, no pet.) (citing Penny v. Powell, 162

Tex. 497, 347 S.W.2d 601, 603 (1961)); Nelms v. State Farm Mut. Auto. Ins. Co., 463 F.2d 1190,

1192 (5th Cir. 1972). Under Texas law, a tort plaintiff generally has no standing to join a

tortfeasor’s liability insurer directly in the tort action. Jones, 78 S.W.3d at 629. The question,

though, is not whether the Clems could have sued Atlantic Casualty directly in their action

against Ramirez, LBJ, and others, but whether Atlantic Casualty’s request for declaratory relief

against the Clems as potential judgment creditors of Ramirez and LBJ Trucking constitutes an

“actual controversy” under the federal Declaratory Judgment Act.

               1.      The U.S. Supreme Court answered the question in Atlantic’s favor in
                       1941.

       And the clear answer is that it does constitute an actual controversy. In 1941, the United

States Supreme Court considered whether Maryland Casualty Company’s declaratory judgment

coverage action against Joe Orteca, who was injured in a wreck with a Pacific Coal automobile,

constituted an actual controversy. Like Atlantic Casualty’s action, there was an underlying case

between Orteca and Pacific Coal, and Maryland Casualty sought declaratory relief in federal


ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                          Page 5
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07               Page 11 of 28 PageID 114



court on the issue of coverage. Like the Clems, Orteca was a potential judgment creditor. The

Court concluded: “That the complaint in the instant case presents such a[n actual] controversy is

plain.” Maryland Cas. Co. v. Pacific Coal & Oil Co., 312 U.S. 270, 273 (1941). The Supreme

Court’s rationale was the same as that supporting Atlantic Casualty’s inclusion of the Clems in

this action. The Court noted a clear actual controversy between the insurance company and its

insured, and said, “[i]f we held contrariwise as to Orteca because, as to him, the controversy

were yet too remote, it is possible that opposite interpretations of the policy might be announced

by the federal court . . . while the state court, in a supplemental proceeding by Orteca against

petitioner [the insurance company], might conclude otherwise.” Id. at 274. Atlantic Casualty is

in the same position. Were the Clems not a party to this action, this Court could hold that there

is no coverage, and then the Clems could later claim that there was coverage and another court

could so hold because they would not be bound by this Court’s judgment. See El Naggar, cited

supra at 3 (holding that injured party not included in federal declaratory judgment action was not

bound by no-coverage judgment against insured).

        The Court noted that Orteca, like the Clems, was presently seeking a judgment against

the insurance company’s insured. Maryland Cas. Co., 312 U.S. at 273. Orteca, like the Clems,

was only a potential judgment creditor, having no present rights in the insurance policy. Ohio

law gave Orteca a right to proceed directly against the insurance company if he obtained a

judgment against the insured. Id. Texas law is the same in this regard. In Texas, the injured

party may not proceed directly against the insurer until it has been established by judgment or

settlement that the insured has a legal obligation to pay damages to the injured party. State Farm

Mut. Ins. Co. v. Ollis, 768 S.W.2d 722, 723 (Tex. 1989).         With a substitution of names,

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 6
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                           Page 12 of 28 PageID 115



Maryland Casualty would be Atlantic Casualty versus the Clems. The United States Supreme

Court found an actual controversy between a similarly situated insurance company and a

similarly situated potential judgment creditor. There is no reason the outcome in this case should

be different, and the Clems’ motion should be denied. 5

                  2.       Other federal courts agree with Atlantic’s view.

         Other federal district courts in Texas that have considered the same issue before this

Court have agreed with Atlantic Casualty’s view that there is an actual controversy between

parties situated as Atlantic and the Clems. In Century Surety Co. v. Hardscape Construction

Specialties, Inc., No. 4:05-CV-285-Y, 2006 WL 1948063 (N.D. Tex. July 13, 2006), U.S.

District Judge Terry Means considered the same issue, in which Hardscape’s subcontractor

defectively built a couple of swimming pools for Hillwood Residential Services’ real estate

development. Century Surety sued insureds Hardscape, the subcontractor (Elite Concepts), and

the potential judgment creditor, Hillwood, seeking a declaration of no coverage. Hillwood

claimed not to be a proper party, but Judge Means disagreed. He noted that in Texas, a party

injured by an insured is viewed as a third-party beneficiary of a liability insurance policy (citing

Ollis, 768 S.W.2d at 723), and, citing a Fifth Circuit opinion by Judge Higginbotham, stated,

         A declaratory-judgment action brought by an insurer is binding upon a third-party
         beneficiary to a liability insurance policy if properly joined as a party to the
         declaratory–judgment action.


5
  The Maryland Casualty Court granted certiorari to resolve a conflict among the circuits. Maryland Cas. Co., 312
U.S. at 512 n.1. The Court then cited a list of those cases, one of which is the Fifth Circuit’s Central Surety & Ins.
Corp. v. Norris, 103 F.2d 116 (5th Cir. 1939). There, the insurer sued its insured and the injured parties for a no-
coverage declaration. The district court dismissed two of the injured parties. The Fifth Circuit reversed, saying
“[t]he interest of Ruddell and Rosser in the question the Insurance Corporation is trying to get adjudicated by a
declaratory judgment is real and substantial though not immediate. They ought to be retained as parties to be heard
on it and to be bound by the result.” Id. at 117. Maryland Casualty thus resolved the conflict on the side of those
circuits including the Fifth Circuit, which supports the inclusion of the Clems as defendants in this action.
ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                           Page 7
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                Page 13 of 28 PageID 116



Century Surety, 2006 WL 1948063, at *5 (citing State Farm Fire & Cas. Co. v. Fullerton, 118

F.3d 374, 385 n.6 (5th Cir. 1997)). Judge Means thus concluded that Hillwood was properly

joined as a party and denied its motion for judgment.

       U.S. District Judge Marcia Crone in the Eastern District held similarly. In National

American Insurance Co. v. Breaux, 368 F. Supp. 2d 604 (E.D. Tex. 2005), Hart Construction,

which was insured by National American, had leased a “Bobcat Skidsteer” for use at an Office

Depot job in Beaumont, Texas. Hart employee Breaux ended up taking the equipment home

with him to work on his own property. While piling up brush with it, Breaux backed the Bobcat

over a minor identified as “K.S.Y.,” causing grave injuries that resulted in the child’s death. The

child’s parents, the Youngs, sued Breaux and others for the death. In federal court, National

American sought a declaration of no-coverage for the Youngs’s claims against Breaux in the

underlying action. National Union sued Breaux and the Youngs. Like the Clems here, the

Youngs alleged that without a judgment in the underlying action, no justiciable controversy

existed between them, as potential judgment creditors, and National American.

       In Dairyland County Mutual Insurance Company of Texas v. Childress, 650 S.W.2d 770

(Tex. 1983), the insurance company had previously obtained a no-coverage declaration against

its insured but had not included the injured party as a defendant. The Texas Supreme Court

determined that the insured and the injured party were not in privity with regard to a no-coverage

declaratory judgment action brought solely against the insured. As a third-party beneficiary of

the liability insurance contract, the injured party had rights which could not be precluded by the

prior action solely between the insured and the insurer. Id. at 774-76.



ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                         Page 8
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                 Page 14 of 28 PageID 117




       In Breaux, the court recognized that a party injured by an insured is viewed as a third-

party beneficiary of a liability policy even though he may not proceed directly against the insurer

until receipt of a judgment against the insured or an agreement that the insured has an obligation

to pay. Breaux, 368 F. Supp. 2d at 620. National American, though, unlike Dairyland County

Mutual, had included the injured party in its declaratory judgment action. The Breaux court

continued,

       [U]nder Texas law, a declaratory judgment action brought by an insurer is binding
       upon a third-party beneficiary to a liability insurance policy if properly joined as a
       party to such action.

Id. On this issue, the court concluded as follows:

       In this instance, because the Youngs derive their right, if any, to collect insurance
       proceeds directly from the rights of Breaux, they are deemed to be in privity by
       virtue of their shared legal interest. As such, under the Declaratory Judgment Act,
       the court may declare NAICO’s rights and legal relations with respect to both
       Breaux and the Youngs.

Id. at 621. In the case before this Court, the facts are not materially different, and neither should

be the result. See Continental Cas. Co. v. West Machine & Tool, Inc., No. A 603CV447, 2004

WL 1445812, at *1 (E.D. Tex. June 22, 2004) (Guthrie, Mag. J.) (allowing underlying plaintiff

to intervene in coverage action to defend against no-coverage position of insurance company vis-

à-vis insured and noting underlying plaintiff’s “compelling argument that he has an [sic] strong

interest in the outcome of this lawsuit and in any decision as to whether Plaintiff must provide a

defense and indemnification for Defendants in the underlying lawsuit . . . .”); Standard Accident

Ins. Co. v. Meadows, 125 F.2d 422, 423-24 (5th Cir. 1942) (citations omitted):




ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                              Page 9
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                  Page 15 of 28 PageID 118



       It has been repeatedly held in this circuit and elsewhere that whether an insurer is
       bound [by] an automobile insurance policy by a judgment against its insured,
       presents a controversy for declaratory judgment as between it, its insured and the
       plaintiff in a damage suit against its insured and it was plain error to dismiss the
       state court plaintiffs from the suit.

Dairyland Ins. Co. v. Makeover, 654 F.2d 1120, 1123 (5th Cir. 1981) (citations omitted):

       It is decisive to our holding that Dairyland [the insurer] named the appellants [the
       potential judgment creditors] as defendants in its declaratory judgment action. In
       a declaratory judgment action brought by an insurer to determine coverage under
       a liability policy issued to the insured, third parties claiming liability in state tort
       suits against the insured have been held to be proper parties to the declaratory
       suit, even though their claims against the insurer was [sic] contingent upon
       recovery of a judgment against the insured.

Cf. American States Ins. Co. v. Bailey, 133 F.3d 363 (5th Cir. 1998) (addressing, not dismissing

for want of an actual controversy, appeal by injured parties of no-coverage judgment in insurer’s

declaratory judgment action against insureds and injured parties).

               3.     Cases the Clems rely on are inapposite.

       The Clems rely on a number of decisions that, under scrutiny, do not support their

position, including Texas state cases. In a diversity case, state law supplies the rule of decision

for substantive issues. Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938). However, justiciability or

ripeness under the federal Declaratory Judgment Act is a procedural matter decided under federal

law. Federal Kemper Ins. Co. v. Rauscher, 807 F.2d 345, 352 (3rd Cir. 1986) (“It is settled law

that, as a procedural remedy, the federal rules respecting declaratory judgment actions, apply in

diversity cases. While state law must determine the substantive rights and duties of the parties to

the insurance contract, the question of justiciability is a federal issue to be determined only by

federal law.”) The Supreme Court in Maryland Casualty understood the rule no differently,

although it looked to state law to define the substantive rights between the parties. Throughout

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                            Page 10
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                    Page 16 of 28 PageID 119



their motion, the Clems refer both to federal cases and to Texas state cases to support their view

of “actual controversy” under the federal Declaratory Judgment Act. As shown in this response,

governing federal law holds that Atlantic Casualty’s claims against the Clems are ripe. To the

extent state law is relevant to define any substantive rights, it, too, supports ripeness under the

federal act.

        The Clems assert that the state of the law in Texas since 1997 has been in “flux”

regarding the substantive rights of allegedly injured parties against the injuring party’s insurer.

To the contrary, there has been no flux in Texas’s not being a direct action state in which the

injured party may not assert a direct action to recover on the policy against the injuring party’s

insurer until judgment. But the federal Declaratory Judgment Act was not intended to provide

such a direct cause of action. Instead, it is a procedural vehicle for determination at an earlier—

albeit still ripe—stage of a controversy than such a direct claim:

        Many courts have recognized that applying the ripeness doctrine in the
        declaratory judgment context presents a unique challenge. See, e.g., Rhode Island
        v. Narragansett Indian Tribe, 19 F.3d 685, 692 (1st Cir. 1994) (“declaratory
        actions contemplate an ‘ex ante determination of rights’ that ‘exists in some
        tension with traditional notions of ripeness’”) (citations omitted).

Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 896 (5th Cir. 2000); see United Transp. Union

v. Foster, 205 F.3d 851, 857 (5th Cir. 2000) (“Declaratory judgments are typically sought before

a completed ‘injury-in-fact’ has occurred . . . .”) (citation omitted).       The purpose of the

Declaratory Judgment Act is to settle “actual controversies” before they ripen into violations of

law or breach of some contractual duty. Chevron USA, Inc. v. Traillour Oil Co., 987 F.2d 1138,

1154 (5th Cir. 1993). As noted supra at 5, the Clems confuse the difference between the injured

party suing the injuring party’s insurer directly and the ripeness of the insurer seeking a no

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 11
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                 Page 17 of 28 PageID 120



coverage declaration against the injured party. The Clems’ complaint that they could not yet sue

Atlantic Casualty directly (i.e. for recovery of insurance proceeds) is of no moment.

       Nor has there been flux in whether the issue of indemnity is ripe or justiciable before

judgment in an underlying action. In Farmers Texas County Mutual Insurance Co. v. Griffin,

955 S.W.2d 81 (Tex. 1997), the Texas Supreme Court squarely held that the issue of indemnity

is justiciable before judgment against the insured in the underlying action. The Clems say that

the rights of tort plaintiffs against the tortfeasor’s insurer have been in flux and “therefore”

(Clems’ Mot. Dismiss at 6) the Fort Worth Court of Appeals declined to determine whether a

potential judgment creditor was a proper party to a declaratory judgment action between and

insurer and its insured. To the contrary, that court did not decline such a determination because

of any alleged flux in the law, but instead, “[f]or purposes of this appeal, a determination of

whether Walker was properly joined is irrelevant” because the outcome was the same either way.

State and County Mut. Fire Ins Co. v. Walker, 228 S.W.2d 404, 412 (Tex. App.—Fort Worth

2007, no pet.).

       Two other points are important about Griffin. First, the Texas Supreme Court in that

decision pointed out the following from its opinion in State Farm Fire & Cas. Co. v. Gandy, 925

S.W.2d 696 (Tex. 1996):

       Gandy requires an insurer to either accept coverage or make a good faith effort to
       resolve coverage before adjudication of the plaintiff’s claim, and also suggests
       that the plaintiff may wish to participate in that litigation. Gandy, 925 S.W.2d at
       714.

Griffin, 955 S.W.2d at 84 (emphasis added). If the insurance company’s resolution of coverage

before adjudication of the underlying plaintiff’s claim was not ripe for adjudication as against the


ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                         Page 12
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                           Page 18 of 28 PageID 121



plaintiff, the Court would hardly have invited such allegedly injured parties (like the Clems) “to

participate in that litigation.”

         Second, the respondent in the Griffin case, Robert Griffin, was the injured party, who

sought in an underlying lawsuit to recover from Farmers’ insured, James Royal, III. Like

Atlantic Casualty here, Farmers had sued both its insured and the injured party seeking a

declaration of no coverage. Although this fact is obvious from the Supreme Court’s opinion, the

court of appeals’ decision, which was reversed, states the fact explicitly:

         Farmers Texas County Mutual Insurance Company sued Robert Griffin and James
         Edward Royal, III seeking a declaratory judgment it had no duty to defend Royal
         in a separate suit, filed by Griffin, or to indemnify Royal under its policy of
         insurance for any damages awarded Griffin.

Griffin v. Farmers Texas County Mut. Ins. Co., No. 09-95-202CV, 1996 WL 389232, at *1 (Tex.

App.—Beaumont July 11, 1996), rev’d, 955 S.W.2d 81 (Tex. 1997). The Texas Supreme Court

did not dismiss Farmers’ request for declaratory relief against Griffin for lack of a controversy,

on justiciability or ripeness or other grounds. It would hardly do to suggest, as the Clems must if

they maintain their view here, that the Supreme Court overlooked that the insurer’s claim against

Griffin was not ripe and that the Court thus lacked jurisdiction. The more likely result is that the

Court meant exactly what it held—that indemnity is justiciable before determination of the

underlying claim. And it is ripe as to the insurer’s declaratory judgment claim against the

injured party. 6 Griffin held that indemnity is justiciable when the same reasons that negate the

duty to defend also negate the duty to indemnify. That is the case here.


6
  The Court could not have been clearer as to what it was considering: “Before determining whether Farmers has a
duty to indemnify Griffin [i.e. the injured party], we must first address whether this duty is properly justiciable by
declaratory judgment before the rendition of a judgment in the underlying suit.” Griffin, 955 S.W.2d at 83
(emphasis added).
ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                         Page 13
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                  Page 19 of 28 PageID 122



       The Clems rely on four other decisions. First, they point to Feria v. CU Lloyd’s of Tex.,

No. 05-00-01245-CV, 2001 WL 1263666 (Tex. App.—Dallas Oct. 23, 2001, no pet.) (not

designated for publication). Feria is inapposite for three reasons. First, the issue there was

whether the underlying plaintiff’s attempted intervention in the coverage action was proper under

TEX. R. CIV. P. 60. This case has nothing to do with intervention or the Texas Rules of Civil

Procedure. Second, following the denial of the plaintiff’s plea in intervention, “CU Lloyd’s filed

a motion to nonsuit its declaratory judgment action, and the trial court dismissed the lawsuit

without prejudice.” Id. at *1. If the insurance company was no longer contesting coverage, then,

unlike here, there was no controversy regarding coverage into which to intervene. Third, the

court notes that the issue in the coverage action (when it was pending) was whether CU Lloyd’s

had a duty to defend its insured in the lawsuit brought by the intervening plaintiff. The court

noted that the underlying plaintiff could not have sued the insurer to force it to defend its insured.

Id., at *2. In any event, the underlying plaintiff would have had no justiciable interest in the

defense of the insured; her interest in whether there was indemnity would have been justiciable,

but the court makes no mention of the duty to indemnify. The Feria opinion does not support

the Clems.

       They next rely on Owens v. Allstate Insurance Co., 996 S.W.2d 207 (Tex. App.—Dallas

1998, pet. denied). Owens was neither an action by an underlying plaintiff nor one by an insurer

for a declaration of no coverage. Instead, it was an interpleader action by Allstate against

persons injured in a car wreck, none of whom, at least judging from the opinion, had yet sued

Allstate’s insured, Jefferson, for personal injuries. One of the injured, Owens, moved to dismiss

the interpleader action for lack of jurisdiction. The court of appeals agreed, saying that Jefferson

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                           Page 14
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                Page 20 of 28 PageID 123



was not legally obligated to pay anyone, that Allstate therefore owed Owens nothing and that the

Texas interpleader rule (TEX. R. CIV. P. 43) allowed the joining of claimants against the

interpleaded funds. The court reasoned that Owens was not a claimant and the case should have

been dismissed. Although repeating that an injured party cannot sue the tortfeasor’s insurer

directly, the court did not mention Griffin, declaratory relief, or anything else that profits the

Clems.

         The Clems also misplace their reliance on two Northern District opinions. The first is

Judge Sanders’s decision in Standard Fire Insurance Co. v. Sassin, 894 F. Supp. 1023 (N.D.

Tex. 1995). In that consolidated case, only one insurer, American Economy Insurance Company

(AEIC), sought a declaration against both the insureds (the Sassins) and the injured parties (the

Tripletts). AEIC had dismissed its claims against the Sassins. Id. at 1025. Relying on Texas

law, the court concluded that the Tripletts had no interest in the AEIC insurance policy unless

and until judgment was entered in the underlying state court action against the Sassins. Id. at

1027. Judge Sanders’s opinion does not advance the Clems’ cause for two reasons. First, the

case was decided in 1995 and necessarily relied on pre-Griffin law. Atlantic Casualty submits

that if Judge Sanders had had the Griffin decision to consider, the outcome would have been

different. Second, although the case does not discuss this fact in connection with its holding, the

insurer had dismissed its declaratory judgment action against its insureds, the Sassins. If the

insurer no longer disputed coverage of its insureds, then it is difficult to see how an actual

controversy as to coverage existed between the insurer and the injured Tripletts. In this case,

though, Atlantic Casualty disputes coverage of LBJ Trucking and Ramirez and of any judgment



ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 15
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                   Page 21 of 28 PageID 124



that might be awarded to the Clems, which post-Griffin decisions indicate constitutes an actual

controversy for purposes of the federal Declaratory Judgment Act.

       The Clems also give a nod toward Judge Godbey’s opinion in Bituminous Casualty Corp.

v. Garcia, 223 F.R.D. 308 (N.D. Tex. 2004) as “affirming the holding of Sassin to be that third-

party claimants under Texas law have no cognizable interest in an insurance contract on which to

bring suit.” (Clems’ Mot. Dismiss at 8.) Garcia was a case about intervention, and Judge

Godbey in fact distinguished Sassin, noting that the insurer there had voluntarily dismissed its

action against its insureds and continued only with its claim against the tort plaintiffs. Garcia,

223 F.R.D. at 311. In Garcia, the insurer had sued only the insured. The insured did not answer,

and a default judgment was entered that Bituminous Casualty had no duty to defend or

indemnify the insured in the underlying tort suit. Judge Godbey then allowed the injured party—

the Clems of that underlying case—to intervene in the coverage action, noting that “Intervenors

have an interest in the subject matter of this action sufficient to support their intervention.” Id. at

311. And the court noted exactly what the intervenors intended by their intervention: “It is

abundantly clear from Intervenors’ motion that they intend to defend Bituminous’ claim for

declaratory judgment that it has no duty to defend or indemnify.” Id. at 311 n.4. To the extent

that Garcia “affirms” the holding of Sassin, as the Clems suggest, Sassin, as explained above,

provides the Clems no support. In any event, the Garcia opinion supports the propriety of the

underlying plaintiff being a party to the coverage action filed by the allegedly injuring party’s




ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                            Page 16
    Case 3:07-cv-01297-F Document 16 Filed 10/14/07                          Page 22 of 28 PageID 125



insurance company, and the Clems recognize as much. 7 Atlantic’s request for declaratory relief

against the Clems is ripe, and their 12(b)(1) and 12(b)(6) motions should be denied.

         b.       The Court should not dismiss the action against the Clems as a matter of
                  discretion.

         The Clems’ parting salvo requests the Court to dismiss the action against them as a

matter of the Court’s discretion. But practically, their request, which is mainly based on the fact

that the contingency of a judgment in their favor in the underlying action remains, is an argument

for discretionary dismissal of all declaratory judgment actions because some sort of contingency

always inheres in the underlying facts. That is the nature of declaratory relief. See Chevron

USA, Inc., 987 F.2d at 1154 (declaratory relief settles controversies before they ripen into

violations of law or breach of duty).

         To aid a district court in determining whether to hear a declaratory judgment action, the

Fifth Circuit devised the following:

         In St. Paul Ins. Co. v. Trejo, 39 F.3d 585 (5th Cir. 1994), this court identified
         seven nonexclusive factors for a district court to consider in deciding whether to
         decide or dismiss a declaratory action. These factors are:

              (1) whether there is a pending state action in which all of the matters in
                  controversy may be fully litigated;

              (2) whether the plaintiff filed suit in anticipation of a lawsuit filed by the
                  defendant;

              (3) whether the plaintiff engaged in forum shopping in bringing the suit;

              (4) whether possible inequities in allowing the declaratory plaintiff to gain
                  precedence in time or to change forums exist;


7
  “Two federal cases in the Northern District of Texas, Bituminous Cas. Corp. . . . and Century Surety Co. . . . seem
to suggest that a potential judgment creditor may be a proper party to [a] declaratory judgment action between an
insurer and its insured.” (Clems’ Mot. Dismiss at 8 n.1.)
ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                                         Page 17
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                 Page 23 of 28 PageID 126



          (5) whether the federal court is a convenient forum for the parties and
              witnesses;

          (6) whether retaining the lawsuit would serve the purposes of judicial
              economy; and

          (7) whether the federal court is being called on to construe a state judicial
              decree involving the same parties and entered by the court before whom
              the parallel state suit between the same parties is pending.

Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 388 (5th Cir. 2003).

       The first and seventh factors address whether parallel state court proceedings, which

could address the same issues among the same parties, are pending. That there are no such

proceedings related to this action does not make those factors irrelevant. Instead, it strongly

counsels against dismissal. The Tenth and Eleventh Circuits have stated that dismissing a

declaratory judgment action when there is no pending parallel state proceeding is an abuse of

discretion. Id. at 393. The Fifth Circuit declined to adopt such a per se rule, but instead believes

that the absence of a pending parallel state proceeding “is a factor that weighs strongly against

dismissal.” Id. at 394.

       Based on the second factor, the Clems accuse Atlantic Casualty of filing suit in

anticipation of a judgment in the underlying action and of “cut[ting] off a future suit by the Clem

Defendants.” (Clems’ Mot. Dismiss at 14.) The Clems’ second point pops like a soap bubble. If

coverage is determined in this action, what future suit might there be to be “cut off”? The Clems

are already suing the alleged wrongdoers. If this Court determines with the Clems as parties that

there is no coverage, they will hardly be able to file a future action against Atlantic to recover

insurance proceeds. By the same token, if the Court decides otherwise, Atlantic would not be



ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                         Page 18
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                 Page 24 of 28 PageID 127



able to contest coverage in a future action, as long as the Clems are parties here. Either way,

there is no future litigation to cut off.

        Their first point again finds its answer in the nature of declaratory relief, which is

typically sought in anticipation of a contingency. Atlantic could not put it better than the Fifth

Circuit:

        A proper purpose of section 2201(a) is to allow potential defendants to resolve a
        dispute without waiting to be sued or until the statute of limitations expires. The
        mere fact that a declaratory judgment action is brought in anticipation of other
        suits does not require dismissal of the declaratory judgment action by the federal
        court.

Id. at 397 (citation omitted). The Fifth Circuit continued:

        Despite the fact that plaintiff may have predicted that there would be a related suit
        filed . . . (making the federal suit “anticipatory”), “without more, we cannot say
        that [the declaratory plaintiff’s] action is an instance of forum-shopping instead of
        a reasonable assertion of its rights under the declaratory judgment statute and
        diversity jurisdiction.”

Id. at 398 (quoting United States Ins. Co. v. Kapiloff, 155 F.3d 488, 494 (4th Cir. 1998)). The

Sherwin-Williams court also approvingly quoted the following:

        The Ninth Circuit similarly concluded that even if the insurer anticipated a state
        court declaratory judgment coverage action, “we know of no authority for the
        proposition that an insurer is barred from invoking diversity jurisdiction to bring a
        declaratory judgment action against an insured on an issue of coverage.”

Id. (quoting Government Employees Ins. Co. v. Dizol, 133 F.3d 1220, 1225 (9th Cir. 1998)).

        Based on factor three, the Clems also accuse Atlantic of “forum shopping.”              The

underlying action is based on, among other things, the federal Resource Conservation Recovery

Act (RCRA), 42 U.S.C. § 6972, and venue is also predicated on RCRA because the alleged

violations occurred in the Eastern District of Texas, in Carrollton, Texas. This action is a


ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                          Page 19
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                   Page 25 of 28 PageID 128



contract action with a different basis for venue. As the Clems point out, the coverage action

could not be consolidated into the underlying action anyway, because it is improper to inject the

issue of insurance into the liability action. Were this action pending elsewhere, the same law

would apply. Atlantic thus did not pre-emptively force a choice of law by filing in the Northern

District of Texas. Cf. Sherwin-Williams, 343 F.3d at 399 (“There is no evidence that Sherwin-

Williams brought its declaratory judgment action in search of more favorable law.”). The

Clems’ complaints of forum shopping fall flat. In filing this action, Atlantic merely resorted to

its legitimate rights under applicable law: “Merely filing a declaratory judgment action in a

federal court with jurisdiction to hear it, in anticipation of state court litigation, is not in itself

improper anticipatory litigation or otherwise abusive ‘forum shopping.’” Id. at 391.

       Based on factor four, the Clems complain that Atlantic filed this action at a time in which

they are “powerless to take any affirmative action.” (Clems’ Mot. Dismiss at 15.) They say that

“during the time between the filing of a tort plaintiff’s lawsuit and a favorable judgment or

settlement, the tort plaintiff has no ability to seek relief against the insurer under the Texas

Rules.” (Id. at 15.) Above, Atlantic has already pointed out the Texas Supreme Court’s

invitation to injured parties to participate in a coverage determination. See supra at 12-13 (citing

Gandy, 925 S.W.2d at 714). Atlantic has also discussed two cases in which injured parties were

allowed to intervene in coverage actions, one by Judge Godbey and the other by Magistrate

Judge Guthrie in the Eastern District. As they should be, the Clems are a party to this action, and

nothing prevents them from seeking whatever relief here that they deem appropriate. Their

alleged powerlessness to support their claim of inequity under the above-quoted Trejo factors is

itself powerless.

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                            Page 20
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                Page 26 of 28 PageID 129



       The Clems also claim that their being dismissed from this action somehow will increase

the quantum of judicial economy. If they are dismissed, the action against the insured remains,

so the net increase to judicial economy would be zero. Also, they seem to miss the irony of

arguing that Atlantic tries to cut off a future action by them and claiming that their dismissal

supports judicial economy. To the contrary, they seem to contemplate two actions—this one

without them and a future one in which, apparently, the same coverage issues are contested again

against them. Their view, of course, does not support economy but instead multiplies litigation,

which is one of the things declaratory actions are supposed to prevent. This Court can adjudicate

the coverage issues regarding Atlantic’s policies for all interested parties, including the Clems.

That supports judicial economy.

       Factor five asks whether the federal court is a convenient forum for the parties and

witnesses. Coverage actions are decided under the eight corners rule, where the court compares

the allegations of the complaint to the language of the policy. See GuideOne Elite Ins. Co. v.

Fielder Road Baptist Church, 197 S.W.3d 305 (Tex. 2006). They typically are decided on

summary judgment, thus entailing no inconvenience to parties or witnesses.             All of the

defendants reside just up the road in Carrollton, anyway.         Factor five supports retaining

Atlantic’s claims against the Clems.

                                        III. Conclusion

       Under federal law, the facts of this case present an actual controversy under the

Declaratory Judgment Act between Atlantic and the Clems. To the extent Texas law is necessary

to define any substantive rights between those parties, it also supports that an actual controversy

exists. As a matter of discretion, this Court should not dismiss Atlantic’s claims against the

ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 21
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                    Page 27 of 28 PageID 130



Clems. Such a dismissal would encourage piecemeal litigation, prevent certainty to the coverage

dispute and strike against judicial economy and efficiency. Atlantic respectfully requests that the

Court deny the Clems’ motion in its entirety.

        WHEREFORE, Atlantic prays that the Court deny the Clems’ motion to dismiss and

further prays that the Court grant it general relief.

                                                Respectfully submitted,

                                                SAVRICK, SCHUMANN, JOHNSON,
                                                MCGARR, KAMINSKI & SHIRLEY, L.L.P.


                                                By:
                                                        Camille Johnson, Attorney-in-Charge
                                                        State Bar No. 10686600
                                                        Gary N. Schumann
                                                        State Bar No. 17851930
                                                        6440 N. Central Expressway, Suite 107
                                                        Dallas, Texas 75206
                                                        Phone: (214) 368-1515
                                                        Fax: (214) 292-9647
                                                        Email: camille@ssjmlaw.com

                                                ATTORNEYS FOR PLAINTIFF
                                                ATLANTIC CASUALTY INSURANCE COMPANY

Of counsel:

William A. Reece
State Bar No. 16672990
SAVRICK, SCHUMANN, JOHNSON,
MCGARR, KAMINSKI & SHIRLEY, L.L.P.
6440 N. Central Expressway, Suite 107
Dallas, Texas 75206
Phone: (214) 368-1515
Fax: (214) 292-9647
Email: breece@ssjmlaw.com



ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                              Page 22
  Case 3:07-cv-01297-F Document 16 Filed 10/14/07                Page 28 of 28 PageID 131



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of October, 2007, I electronically filed the foregoing
with the Clerk of Court for the U.S. District Court, Northern District of Texas, using the
CM/ECF system which will send notification of such filing to the following:

       Abigail B. Moore / Vincent J Hess
       LOCKE LIDDELL & SAPP
       2200 Ross Avenue, Suite 2200
       Dallas, Texas 75201
       Email: abmoore@lockeliddell.com
       Email: vhess@lockelord.com


       Cody L. Towns
       LYNN TILLOTSON & PINKER LLP
       750 N. St. Paul Street, Suite 1400
       Dallas, Texas 75201
       Email: ctowns@lynnllp.com




                                                     William A. Reece




ATLANTIC CASUALTY’S RESPONSE, AND BRIEF IN SUPPORT
THEREOF, TO THE CLEM DEFENDANTS’ MOTION TO DISMISS                                        Page 23
